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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No. 1:22-cr-00056-SWS
                Plaintiff,
                                                   NOTICE OF SUBSTITUTION OF CO-
        vs.                                        COUNSEL

 JOSEPH ALAN HOADLEY,

                Defendant.


       The undersigned Assistant United States Attorney for the District of Idaho, Francis J.

Zebari, hereby substitutes as co-counsel for the Plaintiff in the above-captioned action in place of

Kassandra McGrady.

       Dated this 12th day of August, 2022.

                                                   JOSHUA D. HURWIT
                                                   UNITED STATES ATTORNEY
                                                   By:


                                                   /s/ Francis J. Zebari
                                                   FRANCIS J. ZEBARI
                                                   Assistant United States Attorney




NOTICE OF SUBSTITUTION OF CO-COUNSEL - 1
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 12, 2022, the foregoing NOTICE OF

SUBSTITUTION OF CO-COUNSEL was electronically filed with the Clerk of the Court using

the CM/ECF system, and that a copy was served on the following parties or counsel by:

 Charles F Peterson, Jr.                              United States Mail, postage prepaid
 Peterson Lawyers                                     Fax
 671 E Riverpark Ln Suite 210 83706                   ECF filing
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                                                  /s/ Wendy Wheeler
                                                  Legal Assistant




NOTICE OF SUBSTITUTION OF CO-COUNSEL - 2
